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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §
ERIN ENERGY CORPORATION, et                          §                  Case No. 18-32106
al.,1                                                §
      Debtors.                                       §                 Chapter 11
                                                     §
                                                     §         (Jointly Administered)

                          NOTICE OF HEARING ON DEBTORS’
                EMERGENCY MOTION FOR ENTRY OF AN ORDER HOLDING
                ZENITH BANK PLC IN CONTEMPT AND ZENITH BANK PLC’S
                     RESPONSE TO DEBTORS’ EMERGENCY MOTION

         PLEASE TAKE NOTICE that a hearing will be held before the Honorable Marvin

Isgur, United States Bankruptcy Judge, at the United States Bankruptcy Court, 515 Rusk, 4th

Floor, Courtroom 404, Houston, Texas 77002 on June 19, 2018 at 9:00 a.m. (CT), or at such

other time as the court may determine, on the following motions and supporting documents

requesting certain emergency relief (collectively, the “Motions”), which were filed by the

Debtors in connection with the Chapter 11 Cases:

         (i)    Debtors’ Emergency Motion the Entry of an Order Pursuant to Sections 105(a)
         and 362 of the Bankruptcy Code Holding Zenith Bank PLC in Contempt for Violating the
         Automatic Stay [Docket No. 178]; and

         (ii)     Zenith Bank PLC’s Response Letter [Docket No. 187].

         Copies of the above referenced Motions may be (i) inspected in the office of the Clerk of

the Bankruptcy Court during normal business hours; and (ii) downloaded from the Bankruptcy

Court’s website at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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with the PACER Service Center and payment of a fee may be required to access such

documents. Requests for copies of the Motions and further information regarding hearing may

also be made to proposed counsel for the Debtors using the contact information below.

       Respectfully submitted this 11th day of June, 2018.

                                            Respectfully submitted,

                                            OKIN ADAMS LLP

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                                            PROPOSED ATTORNEYS FOR THE
                                            DEBTORS




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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2018 the foregoing Notice of Hearing was served upon
filing via the Court’s EM/ECF electronic system on all parties subscribing thereto and served via
email as follows:

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                                                 /s/ Matthew S. Okin              _______
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